Case 1:22-cv-00134-JDL Document 14 Filed 07/08/22 Page 1 of 2          PageID #: 112




                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


NICHOLAS A. GLADU,                     )
                                       )
      Plaintiff,                       )
                                       )
                   v.                  ) 1:22-cv-00134-JDL
                                       )
MATTHEW MAGNUSSON, et al.,             )
                                       )
      Defendants.                      )

     ORDER ON PLAINTIFF GLADU’S MOTION FOR A TEMPORARY
       RESTRAINING ORDER AND PRELIMINARY INJUNCTION

      Plaintiff Nicholas A. Gladu has filed a Motion for Temporary Restraining

Order and Preliminary Injunction (ECF No. 13). The motion seeks to enjoin the

Defendants, several prison officials and the Commissioner of the Maine Department

of Corrections, “from prohibiting Plaintiff from possessing his books and magazines

which were confiscated on 03/31/2022 that had been in Plaintiff’s possession already

for up to one and a half years” and which contain male nudity. ECF No. 13 at 1.

      The affidavit Gladu submitted in support of his motion and the verified

complaint do not “clearly show that immediate and irreparable injury, loss, or

damage will result to the movant before the adverse party can be heard in opposition.”

Fed. R. Civ. P. 65(b)(1)(A) (emphasis added). Further, the motion is not supported by

a certification in writing of the “efforts made to give notice and the reasons why it

should not be required.” Fed. R. Civ. P. 65(b)(1)(B). Because Gladu has not satisfied

the requirements of Rule 65(b)(1), his request for a temporary restraining order must

be denied.


                                          1
Case 1:22-cv-00134-JDL Document 14 Filed 07/08/22 Page 2 of 2         PageID #: 113




      It is ORDERED that Gladu’s Motion for Temporary Restraining Order and

Preliminary Injunction (ECF No. 13) is DENIED IN PART to the extent that it seeks

a temporary restraining order. The Court takes no action with respect to the motion’s

request for a preliminary injunction, and the motion is referred to the assigned

Magistrate Judge for further proceedings.



      SO ORDERED.

      Dated: July 8, 2022


                                                     /s/ JON D. LEVY
                                               CHIEF U.S. DISTRICT JUDGE




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